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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   VICTOR AGUIRRE,                              Case No. CV 20-6004 PA (AFMx)
12                        Plaintiff,              JUDGMENT OF DISMISSAL
13
            v.
14
     MARIA HERNANDEZ, doing business
15   as LEO’S MEXICAN FOOD, LAUREL
     SATICOY INVESTMENTS, LLC, and
16   DOES 1-10,
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                          Defendants.
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20          In accordance with the Court’s October 19, 2020 Minute Order dismissing this action
21   for lack of prosecution, it is HEREBY ORDERED, ADJUDGED, AND DECREED that the
22   action is dismissed without prejudice.
23
24   DATED: October 19, 2020

25                                                 ___________________________________
                                                              Percy Anderson
26                                                   UNITED STATES DISTRICT JUDGE

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